Filed 8/27/24 Doe v. University of Southern California CA2/5
   NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS

California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions
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IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                         SECOND APPELLATE DISTRICT

                                        DIVISION FIVE



 JANE DOE,                                                          B324253 c/w B325706

           Plaintiff and Appellant,                                 (Los Angeles County
                                                                    Super. Ct. No.
           v.                                                       21STCV45745)

 UNIVERSITY OF SOUTHERN
 CALIFORNIA et al.,

           Defendants and Respondents.



     APPEAL from an order of the Superior Court of
Los Angeles County, Kristin Escalante, Judge. Affirmed.
     Jane Doe, pro. per., for Plaintiff and Appellant.
     Kjar, McKenna &amp; Stockalper, Patrick E. Stockalper and
Hannah R. Hogoboom for Defendants and Respondents.
                        _____________________
       Plaintiff and appellant Jane Doe appeals from a judgment
of dismissal pursuant to an order to show cause, and as an
independent basis for dismissal, an order sustaining the
demurrer of defendants and respondents University of Southern
California (USC), Alfred E. Mann Institute for Biomedical
Engineering (the Institute), and Dr. Gerald Loeb. On appeal Doe
contends the trial court erred by sustaining the demurrer,
denying discovery, and denying leave to amend. We conclude the
demurrer was properly sustained because it is not reasonable to
infer from the allegations of the complaint that any of the
defendants was the proximate cause of Doe’s injuries; the
doctrines of res ipsa loquitor and strict products liability do not
apply. The trial court did not abuse its discretion by denying
discovery, and Doe has not shown that she could amend the
complaint to state a cause of action. Therefore, we affirm.

      FACTUAL AND PROCEDURAL BACKGROUND

      Jane Doe, representing herself, filed her original complaint
against USC, the Institute, and Loeb in Santa Clara County in
November 2020. USC and the Institute filed a demurrer, a
motion to strike portions of the complaint, and a motion to
transfer venue. The trial court overruled the demurrer as to
several claims, expressly stating that the allegations of the
complaint must be taken as true, and therefore a claim had been
stated, but sustained the demurrer as to other claims with leave
to amend. The Santa Clara court transferred the case to Los
Angeles County.




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       After further proceedings, Jane Doe ultimately filed the
operative second amended complaint against the same
defendants in April 2022. She alleged causes of action labeled res
ipsa loquitor, strict liability, stalking, negligence, intentional and
negligent infliction of emotional distress, battery, assault, sexual
battery, violation of the California Tom Bane Civil Rights Act
(Bane Act; Civ. Code, § 52.1), gender violence, and conspiracy
based on the following allegations: On May 23, 2018, as she was
walking on the campus of Santa Clara University, she felt a
sharp pain in her genital area. When she arrived home, she
found a stiff wire-like object in her vulva that an expert identified
as a device with semiconductor components. On subsequent
occasions, she found similar objects in her genital area. The
objects were found to be consistent with sencil technology, which
are hair-like sensors that were the subject of patent applications
filed by or assigned to USC, the Institute, and Loeb in 2005 and
2006. Doe believes the defendants control the manufacture,
distribution, storage, and security of sencil technology. The
sophisticated technology is not readily available in the ordinary
course of commerce and its dissemination is limited.
       Doe does not allege how the technology was implanted in
her body. She speculates that it could have been implanted “by
any number of methods,” such as remotely from a distance. She
alleged the defendants were in a unique position to identify
delivery methods for their technology. She noted that the
Central Intelligence Agency, in 1975, revealed the ability to
deliver technology through nearly undetectable darts. The
complaint does not allege that Doe was in the vicinity of any
defendant or received medical treatment from any defendant.




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       The defendants filed a demurrer on several grounds,
including failure to state a cause of action, which Doe opposed.
Doe filed two motions to compel discovery responses, which the
defendants opposed.
       Doe filed a motion for leave to amend the causes of action
in the second amended complaint for res ipsa loquitor and
negligence per se, which the defendants opposed.
       The trial court ordered all discovery proceedings stayed
until after the hearing on the demurrer.
       A hearing was held on July 7, 2022. The hearing on the
demurrer to the second amended complaint was continued. The
trial court, on its own motion, issued an order to show cause why
the second amended complaint should not be dismissed as
factually frivolous and based on delusional allegations. The court
stayed the action pending resolution of the order to show cause,
including staying discovery. The parties filed pleadings in
response to the order to show cause.
       The demurrer and the order to show cause were heard on
August 17, 2022, and the trial court took the matters under
submission.
       Later that day, in response to the order to show cause for
being factually frivolous and based on delusional allegations, the
trial court dismissed the second amended complaint on that
ground with prejudice. The trial court summarized the relevant
allegations and legal authority. The court found the allegations
of the second amended complaint were based on similar
delusional allegations that had been dismissed in other cases.
The court stated, “Even accepting the allegations that Plaintiff
found hair-like sensors on her person that match the description
of sensors described in patent applications filed and published by




                                4
USC professors in 2005 and 2006, Plaintiff’s theory that USC
professors somehow remotely implanted this technology into
Plaintiff’s body without access to her person is delusional. The
action is grounded on the theory that Defendants could implant
hair-like devices into Plaintiff’s genital area while she was
walking in a public area, without any access to her body.
Plaintiff’s purported experts provide no rational explanation for
how that could happen and no such inference could arise from the
facts alleged.”
       The court added that it had no doubt that “Plaintiff
sincerely believes in the truth of her allegations, but the sincerity
of the belief does not overcome the objectively frivolous basis for
the claims. Further, the court notes that Plaintiff is highly
educated and unusually articulate, but that does not change the
court’s evaluation of the key factual allegations on which the
claims are based.” Based on the court’s analysis, the court
ordered the action dismissed.
       In addition, as an independent basis for the dismissal
order, the trial court sustained the demurrer to the second
amended complaint without leave to amend and ordered the case
dismissed with prejudice. The court stated that to the extent any
claim was based on an allegation that the defendants were
somehow liable for the actions of an unknown person who
implanted technology, the claims lacked merit. Plaintiff had not
sufficiently alleged that USC had any duty to Plaintiff regarding
third parties’ use of USC’s purported technology. There was also
no allegation that the technology was ever placed in the stream of
commerce. For these and other reasons not articulated, the court
sustained the demurrer without leave to amend as an
independent basis for the court’s dismissal order.




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      The trial court entered an order of dismissal on August 17,
2022. Doe filed a motion for reconsideration, which the trial
court denied. Doe filed a timely notice of appeal.

                          DISCUSSION

A.    Standard of Review

       First, we review the complaint de novo to determine
whether it alleges facts sufficient to state a cause of action under
any legal theory or to determine whether the trial court
erroneously sustained the demurrer as a matter of law. (Cantu v.
Resolution Trust Corp. (1992) 4 Cal.App.4th 857, 879.) Second,
we determine whether the trial court abused its discretion by
sustaining the demurrer without leave to amend. (Ibid.) Under
both standards, the appellant has the burden of demonstrating
that the trial court erred. (Ibid.) An abuse of discretion is
established when “there is a reasonable possibility the plaintiff
could cure the defect with an amendment.” (Schifando v. City of
Los Angeles (2003) 31 Cal.4th 1074, 1081.)
       In this case, Doe contends the Los Angeles court erred by
reversing a ruling by the Santa Clara court overruling in part the
demurrer to the original complaint. At this stage, however, we
conduct a de novo review of the complaint to determine whether
it states a cause of action. We are not bound by the rulings of the
lower court in our review.




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B.    Causation Theories

      Doe concedes her complaint fails to allege as to any cause of
action how the defendants caused her injury because she does not
know how the sencil device was implanted in her body. Instead,
she contends the element of causation is satisfied under two legal
doctrines: strict liability and res ipsa loquitor. We conclude
neither doctrine applies in this case.

      1. Strict Liability

      Doe contends the defendants are strictly liable for placing a
defective, dangerous product on the market. This theory,
however, is not supported by the allegations of the complaint.
      “A manufacturer is strictly liable in tort when an article he
places on the market, knowing that it is to be used without
inspection for defects, proves to have a defect that causes injury
to a human being.” (Greenman v. Yuba Power Products, Inc.
(1963) 59 Cal.2d 57, 62.) “The purpose of such liability is to
insure that the costs of injuries resulting from defective products
are borne by the manufacturers that put such products on the
market rather than by the injured persons who are powerless to
protect themselves.” (Id. at p. 63.)
      “ ‘The strict liability doctrine derives from judicially
perceived public policy considerations, i.e., enhancing product
safety, maximizing protection to the injured plaintiff, and
apportioning costs among the defendants. [Citations.] Where
these policy justifications are not applicable, the courts have
refused to hold the defendant strictly liable even if that




                                 7
defendant could technically be viewed as a “ ‘link in the chain’ ”
in getting the product to the consumer market. [Citation.] In
other words, the facts must establish a sufficient causative
relationship or connection between the defendant and the product
so as to satisfy the policies underlying the strict liability
doctrine.’ [Citation.]” (Loomis v. Amazon.com LLC (2021) 63
Cal.App.5th 466, 477.)
       There are no allegations that the defendants in this case
placed these devices in the stream of commerce, and Doe does not
contend that she could amend her complaint to allege that any of
the defendants manufactured or sold these devices to consumers.
Strict products liability does not apply.

      2. Res Ipsa Loquitor

       The other theory that Doe relies on, res ipsa loquitor, is not
applicable under the circumstances of this case. We conclude
Doe’s injury, the implantation of technology in her body, is not
the type of accident that usually occurs only if someone is
negligent.
       The mere fact that a person is injured by a device is not
enough to raise a presumption that the owner of the device that
was used at the time of the accident was negligent. (Metz v.
Southern Pacific Co. (1942) 51 Cal.App.2d 260, 268 (Metz).)
“California cases have frequently stated that the doctrine of res
ipsa loquitur may apply ‘when a thing which causes injury is
shown to be under the management of the defendant and the
accident is such as in the ordinary course of things does not
happen, if those who have the management use proper care, it
affords reasonable evidence, in the absence of explanation by the




                                  8
defendant, that the accident arose from a want of care.’
[Citation.] This doctrine prescribes a mere rule of evidence. The
requirement that the instrumentality must be under the
management and control of the defendant, in the application of
the doctrine of res ipsa loquitur, does not mean, nor is it limited
to, actual physical control. It has been held to apply to the mere
right of control of the instrument which causes the injury at the
time of the accident.” (Ibid.)
       “The doctrine of res ipsa loquitur has three conditions: ‘(1)
the accident must be of a kind which ordinarily does not occur in
the absence of someone’s negligence; (2) it must be caused by an
agency or instrumentality within the exclusive control of the
defendant; (3) it must not have been due to any voluntary action
or contribution on the part of the plaintiff.’ [Citation.]” (Ybarra
v. Spangard (1944) 25 Cal.2d 486, 489 (Ybarra).) “Generally, [res
ipsa loquitur] applies ‘where the accident is of such a nature that
it can be said, in light of past experience, that it probably was the
result of negligence by someone and that the defendant is
probably the person who is responsible.’ [Citations.] Conversely,
where no such weight of probabilities can be found, res ipsa
loquitur does not apply. [Citations.]” (Fowler v. Seaton (1964) 61
Cal.2d 681, 686.)
       Doe contends the elements of res ipsa loquitur are satisfied
by the allegations in this case. We disagree. The link in the
causal chain that Doe must explain is how the sencil device was
implanted in her body. Even though she alleges the defendants
are the developers and owners of sencil technology, the injury in
this case is not the type of accident that in the ordinary course of
things would occur from defendants’ negligence in their role as
developers and owners of that technology. In the absence of any




                                  9
allegations that defendants ever had access to her person, such as
for medical treatment or experimentation, it is not reasonable to
infer that Doe ended up with this unusual, uncommon device
inside her body on multiple separate occasions because of
defendants’ negligence. It is equally probable, if not more
probable, that Doe’s injury resulted from someone’s intentional
conduct. Where no explanation for an injury is inherently more
probable than others, the doctrine of res ipsa loquitor does not
apply. (Brown v. Poway Unified School Dist. (1993) 4 Cal.4th
820, 827.) Doe seems to recognize this, by speculating that the
sencils could have been implanted intentionally by someone using
other technology that was generally known to exist (i.e., the CIA’s
undetectable darts). The technology necessary to implant devices
remotely is not alleged, however, to be defendants’ technology, or
under their control. It does not follow from the allegation that
sencils were in Doe’s body that the most likely explanation is the
defendants acted negligently, rather than the defendants or an
unknown third party acted intentionally. The doctrine of res ipsa
loquitor does not apply.

C.    Denial of Discovery

      Doe contends the trial court abused its discretion by
denying her sufficient opportunity for discovery. We disagree.
Without a viable complaint, the proposed discovery would be an
unnecessary and burdensome additional expense to the
defendants; there was no abuse of discretion in staying discovery.
(See Terminals Equipment Co. v. City and County of San
Francisco (1990) 221 Cal.App.3d 234, 247 [without viable
complaint stating a triable cause of action, stay of discovery was




                                10
not an abuse of discretion]; Silver v. City of Los Angeles (1966)
245 Cal.App.2d 673, 674–675 [“Once it is recognized that the
complaint shows that plaintiff has no claim, all concerned should
be spared the expense of further proceedings”].)

D.    Leave to Amend

       Finally, Doe argues the trial court abused its discretion by
denying leave to amend. However, she does not state how she
could have amended the complaint to cure its defects. No abuse
of discretion has been shown, and therefore, the order must be
affirmed.

                         DISPOSITION

      The order is affirmed. Respondents University of Southern
California, Alfred E. Mann Institute for Biomedical Engineering,
and Dr. Gerald Loeb are awarded their costs on appeal.
      NOT TO BE PUBLISHED.



                                           MOOR, J.

We concur:



             BAKER, Acting, P. J.



             KIM, J.




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